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 1
                                                            Honorable John C. Coughenour
 2                                                            Noted for: October 16, 2020
 3                                                                  Without Oral Argument

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 9
                             UNITED STATES DISTRICT COURT
10                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
11
12     ALEXANDER K. FINLAN, an individual,              Case No.: 2:20-cv-00005-JCC
13
                                  Plaintiff,            MOTION FOR LEAVE TO
14                                                      WITHDRAW AS ATTORNEY
       v.                                               FOR PLAINTIFF
15
16     UNITED STATES OF AMERICA,

17                                 Defendant.
18
19           COMES NOW attorney for Plaintiff, hereby files the within Motion for Leave to

20   Withdraw as counsel for Plaintiff as follows:

21                                     I. RELIEF REQUESTED

22           An Order allowing attorney Bradley E. Neunzig to withdraw as attorney of record

23   for Plaintiff.

24                                  II. STATEMENT OF FACTS.

25       Plaintiff has not maintained communication with the undersigned and fails to keep

26   appointments set for him. Plaintiff has informed the undersigned that he is unhappy with

27   counsel’s representation. The attorney-client relationship has been irretrievably broken

28

       MOTION TO WITHDRAW AS                    1          BAILEY, DUSKIN & PEIFFLE, P.S.
       ATTORNEY                                                P.O. Box 188, Arlington, WA 98223
                                                               (360) 435-2168 Fax (360) 435-6060
       Case No. 2:20-cv-00005-JCC
       (10942 BEN/lw)
                Case 2:20-cv-00005-JCC Document 22 Filed 09/30/20 Page 2 of 3




 1   and the undersigned is unable to continue representing plaintiff. Plaintiff has been given
 2   notice of this motion. Plaintiff’s last known address and phone number are as follows:
 3           Alexander K. Finlan
             c/o Steve Finlan
 4           526 N. West Ave., PMB #85
 5           Arlington, WA 98223
             Phone: 360-661-4592
 6
                                   III. EVIDENCE RELIED UPON
 7
             This motion is based upon the records and files herein.
 8
                                          IV. CONCLUSION
 9
             For the foregoing reasons, it is respectfully requested that the Court allow Bradley
10
     E. Neunzig to withdraw as attorney for Plaintiff.
11
             Dated this 30th day of September, 2020.
12
                                                BAILEY, DUSKIN & PEIFFLE, P.S.
13
14
15                                              By_/s/ Bradley E. Neunzig_________
                                                  Bradley E. Neunzig, WSBA #22365
16                                                Attorneys for Plaintiff
17
                                                     103 North Street
18                                                   P.O. Box 188
                                                     Arlington, WA 98223
19
                                                     Telephone: 360-435-2168
20                                                   Fax: 360-435-6060
                                                     Email: brad@snolaw.com
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       MOTION TO WITHDRAW AS                     2            BAILEY, DUSKIN & PEIFFLE, P.S.
       ATTORNEY                                                   P.O. Box 188, Arlington, WA 98223
                                                                  (360) 435-2168 Fax (360) 435-6060
       Case No. 2:20-cv-00005-JCC
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                Case 2:20-cv-00005-JCC Document 22 Filed 09/30/20 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE
 2           I hereby certify that I electronically filed the foregoing with the Clerk of the Court
 3   using the CM/ECF system which will send notification of filing to the following:
 4
             Attorneys for Defendant United States:
 5
             Kristin B. Johnson
 6           United States Attorney’s Office
             700 Stewart Street, Suite 5220
 7           Seattle, Wa 98101-4438
 8           Email: Kristin.Johnson@usdoj.gov

 9           A copy of the foregoing was sent to Plaintiff via regular mail, postage prepaid to
10
     the following address:
11
             Alexander K. Finlan
12           c/o Steve Finlan
             526 N. West Ave., PMB #85
13
             Arlington, WA 98223
14
             Dated this 30th day of September, 2020 at Arlington, Washington.
15
16
                                                         /s/ Lisa White
17                                                      Lisa White
                                                        Legal Assistant
18                                                      Email: lisa@snolaw.com
19
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21
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       MOTION TO WITHDRAW AS                      3            BAILEY, DUSKIN & PEIFFLE, P.S.
       ATTORNEY                                                     P.O. Box 188, Arlington, WA 98223
                                                                    (360) 435-2168 Fax (360) 435-6060
       Case No. 2:20-cv-00005-JCC
       (10942 BEN/lw)
